                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF MISSOURI
                                      ST. JOSEPH DIVISION

       STACY ARNOLD,                               )
                                                   )
               Plaintiff,                          )
                                                   )
       v.                                          )
                                                   )      Case No. 19-06137-CV-SJ-BP
       CITY OF ST. JOSEPH,                         )
       ST. JOSEPH PUBLIC LIBRARY,                  )
       OFFICER REBECCA HAILEY (IN HER              )
       PERSONAL AND PROFESSIONAL CAPACITY)         )
       AND ROGER CLARY                             )
                                                   )
                                                   )
                   Defendants                      )

                                       CERTIFICATE OF SERVICE


       COMES   NOW    Plaintiff, Stacy Arnold, and hereby certifies that her First Requests for

Admissions to Defendant Hailey were served via electronic mail in WORD and PDF formats to:


Christopher L. Heigele
Steven F. Coronado
Bay Otto Coronado PC – KCMO
4600 Madison Avenue
Suite 210
Kansas City, MO 64112-3019
cheigele@batyotto.com
scoronado@batyotto.com
Attorneys for Defendants
City of St. Joseph, Missouri,
Officer Rebecca Hailey




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                                                            RESPECTFULLY SUBMITTED

                                                                    STACY ARNOLD, Plaintiff

                                                             /s/Stacy Arnold
                                                            Stacy Arnold
                                                            500 Westover Dr. #11589
                                                            Sanford, NC 27330
                                                            803-428-7024
                                                            stacy.kaye.arnold@gmail.com


                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing was filed electronically with the

Clerk of the Court on April 30 2020, to be served by operation of the Court’s electronic filing

system upon:

 Christopher L. Heigele                           Gregory P Goheen
 Steven F. Coronado                               McAnany, Van Cleave & Phillips, PA-KCKS
 Bay Otto Coronado PC – KCMO                      10 East Cambridge Circle Drive
 4600 Madison Avenue                              Ste. 300
 Suite 210                                        Kansas City, KS 66103
 Kansas City, MO 64112-3019                       ggoheen@mvplaw.com
 cheigele@batyotto.com                            Attorneys for Defendant
 scoronado@batyotto.com                           St. Joseph Public Library
 Attorneys for Defendants
 City of St. Joseph, Missouri,
 Officer Rebecca Hailey




                                                                    _/s/ Stacy Arnold__________




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